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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Robert Edgar, et al.

v.                                               Case Number: 4:17−cv−01372

Anadarko Petroleum Corporation, et al.




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Lee H Rosenthal
PLACE:        Courtroom 11B
              United States District Court
              515 Rusk Avenue
              Houston, Texas 77002
DATE: 3/1/2019

TIME: 02:30 PM
TYPE OF PROCEEDING: Motion Hearing
Motion to Dismiss − #65
Motion to Dismiss for Failure to State a Claim − #66

Date: February 13, 2019
                                                           David J. Bradley, Clerk
